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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

KIMMIE LANGLEY,

            Plaintiff,                 CIVIL ACTION
     v.                                NO. 1:17-CV-4520-CAP
AT&T and DOES 1-10 INCLUSIVE,

            Defendants.



                               O R D E R

     After carefully considering the report and recommendation of

the magistrate judge and finding no error, the court receives the

report and recommendation with approval and adopts it as the

opinion and order of this court; therefore, this action will be

stayed pending the resolution of the binding arbitration.             The

clerk is DIRECTED to stay this action and administratively close

the file.   Either party may move to reopen this file within 60 days

of a final decision from the arbitration panel.

     SO ORDERED, this 25th    day of September, 2018.



                                 /s/CHARLES A. PANNELL, JR.
                                 CHARLES A. PANNELL, JR.
                                 United States District Judge
